                                   UNITED STATES DISTRICT COURT
                                    DISTRICT OF MASSACHUSETTS


FIRST EXECUTION                                        CIVIL ACTION NO. 1:11-cv-10051


         To the United States Marshal for the District of Massachusetts or either of his Deputies and to
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _, Special Process Server:


         WHEREAS JAMES WADE
has recovered judgment against DONNA DENESE ATHERTON, MSW
on the 12TH      day of JULY                  ,2013 ,for the sum of $ $6,500.00                         , debt
or damage, pre-judgment interest in the amount of $ 0                   , and costs of this suit in the amount
of $ 0                       ; as to us appears of record, whereof this First Execution remains to be done,
         WE COMMAND YOU, therefore, that of the goods and chattels or lands of the said Judgment
Debtor, to cause to be paid and satisfied unto the said Judgment Creditor, at the value thereof in money,
the aforesaid sums, being a total of $ 6,524.84              , in the whole, with interest thereon at the rate
ofo. 15 % from said day of rendition of said judgment; and thereof also to satisfy yourself for your own fees.
         HEREOF FAIL NOT and make due return of this Writ with your doings thereon into the Clerk's
Office of our said court, at Boston                          , Massachusetts, within Twenty (20) years after
the date of said judgment, or within Ten (10) days after this Writ has been satisfied or discharged.




                                                               ROBERT M. FARRELL
                                                               CLER   F COURT
         SEAL:

                                                       By:
